Case 2:05-mc-00026-.]DB-dkv Document 2 Filed 06/13/05 Page 1 of 3 Page|D 1

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF VIRGINIA 95 jim 13 PM 3: 33
CLARKSBURG DIVISION
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IN THE UNITED STATES DISTRICT COURT §i§""‘-§;g‘;§_§_ ridgwang
FOR THE WESTERN DISTRICT OF TENNESSEE ` ' ` "` '
WESTERN DIVISION

  

STEPHANIE D. SANDRIDGE, as
Adrninistratrix of the Estate of
GREGORY D. CROSS, Deceased,

Plaintiff ,
v. Civil Action No. 2:04CV18 7
No. 05~MC-026-B/V;/
FORD MOTOR COMPANY, a Delaware

Corporation,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Consolidated Motion for Finding of Civil Contempt filed
on June 10, 2005. This matter is hereby referred to the United States Magistrate ludge for
determination and/or a report and recommendation If the magistrate judge makes a
determination/report that Lester is guilty of civil contempt, then the magistrate judge should also
made a determination/report to the district court of what action, including award of fees and
expenses, if any, should be taken against her. Any objections to the magistrate judge’s order
and/or report and recommendation shall be made within ten (lO) days after service of the report,
setting forth particularly those portions of the report objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order and/or
report will constitute a waiver of that objection. §e;: Rule 72(a), Federal Rules of Civil

Procedure.

Tiiis document entered on the docke? sheet In compliance
With Hu|e 58 and,”or 79(a) FRCP on '/ ’OS

 

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IT Is so 0RDERED this _[<_3; day of June, 2005.

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J. DANIEL BREEN
NI ED STATES DISTRICT JUDGE

 

is"CRT COURT - WESTENR D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-MC-00026 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

